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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT COURT OF ARKANSAS
                                WESTERN DIVISION

KENYA THOMPSON                                                                         PLAINTIFF

v.                                  Case No: 4:18-CV-905-SWW

UNION PACIFIC RAILROAD COMPANY                                                       DEFENDANT


                 PLAINTIFF’S FIRST MOTION TO COMPEL DISCOVERY

          Plaintiff Kenya Thompson, by and through her undersigned counsel, respectfully requests

an order compelling Defendant to comply with its discovery obligations under the Federal Rules

of Civil Procedure. The parties have conferred in good faith on the issues in dispute, and they are

not able to resolve their disagreements without the intervention of the Court.

          Pursuant to E.D. Ark. L.R. 7.2(a), Plaintiff is contemporaneously filing a Memorandum of

Law in Support of this Motion, which is incorporated herein by reference.

          WHEREFORE Plaintiff Kenya Thompson respectfully requests that this Court grant her

Motion to Compel, overrule Defendant’s objections and require Defendant to fully answer and/or

respond to Interrogatory Nos. 11, 12, 15, 20, and 21, and Request Nos. 16, 19, 21, 28, 30, 37, 43,

44, 45, 46, and 47. Plaintiff also requests that this Court overrule Defendant’s objections to

Plaintiff’s Rule 30(b)(6) deposition topics, Nos. 2, 4, 5, 13, 14, 22, 27, 28, 31, and 32, and

require Defendant to designate and produce witnesses for each such topic, produce responsive

documents for those topics; produce a privilege log, and for all such other relief this Court deems

proper.




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Dated: September 19, 2019         Nelson G. Wolff ABN #2006002
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